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ebruary 6, 2008

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UNITED STATES DISTRICT COURT CLERK U.S. DIST. CT.
SOUTHERN DISTRICT OF FLORIDA so an

 

 

 

CASE NO.:

JANE DOE NO. 2, 08-CV-80119-MARRA-JOHNSON

Plaintiff,
vs.
JEFFREY EPSTEIN,

Defendant.

/
COMPLAINT

Plaintiff, Jane Doe No. 2 (‘‘Jane” or “Jane Doe”), brings this Complaint against Jeffrey

Epstein, as follows:

arties, Jurisdiction and Venue

P .

1. Jane Doe No. 2 is acitizen and resident of the Commonwealth of Virginia, and is sui
juris.

2. This Complaint is brought under a fictitious name to protect the identity of the
Plaintiff because this Complaint makes sensitive allegations of sexual assault and abuse upon a
minor.

3. Defendant Jeffrey Epstein is a citizen and resident of the State of New York.

4, This is an action for damages in excess of $50 million.

5. This Court has jurisdiction of this action and the claims set forth herein pursuant to 28
U.S.C. §1332(a), as the matter in controversy (i) exceeds $75,000, exclusive of interest and costs;

and (ii) is between citizens of different states.

6. This Court has venue of this action pursuant to 28 U.S.C. §1391(a) as a substantial

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part of the events or omissions giving rise to the claim occurred in this District.
Factual Allegations

7. At all relevant times, Defendant Jeffrey Epstein (“Epstein”) was an adult male, 52
years old. Epstein is a financier and money manager with a secret clientele limited exclusively to
billionaires. He is himself a man of tremendous wealth, power and influence. He maintains his
principal home in New York and also owns residences in New Mexico, St. Thomas and Palm Beach,
FL. The allegations herein concern Epstein’s conduct while at his lavish estate in Palm Beach.

8. Upon information and belief, Epstein has a sexual preference and obsession for
underage minor girls. He engaged in a plan and scheme in which he gained access to primarily
economically disadvantaged minor girls in his home, sexually assaulted these girls, and then gave
them money. In or about 2004-2005, Jane Doe, then approximately 16 years old, fell into Epstein’s
trap and became one of his victims.

9. Upon information and belief, Jeffrey Epstein carried out his scheme and assaulted
girls in Florida, New York and on his private island, known as Little St. James, in St. Thomas.

10. Epstein’s scheme involved the use of young girls to recruit underage girls. (Upon
information and belief, the young girl who brought Jane Doe to Epstein was herself a minor victim of
Epstein, and will therefore not be named in this Complaint). Under Epstein’s plan, underage girls
were recruited ostensibly to give a wealthy man a massage for monetary compensation in his Palm
Beach mansion. The recruiter would be contacted when Epstein was planning to be at his Palm
Beach residence or soon after he had arrived there. Epstein or someone on his behalf would direct the
recruiter to bring one or more underage girls to the residence. The recruiter, upon information and

belief, generally sought out economically disadvantaged underage girls from western Palm Beach

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County who would be enticed by the money being offered - generally $200 to $300 per “massage”
session - and who were perceived as less likely to complain to authorities or have credibility if
allegations of improper conduct were made. This was an important element of Epstein’s plan.

11. Epstein’s plan and scheme reflected a particular pattern and method. Upon arrival at
Epstein’s mansion, the underage victim would be introduced to Sarah Kellen, Epstein’s assistant,
who gathered the girl’s personal information, including her name and telephone number. Ms. Kellen
would then bring the girl up a flight of stairs to a bedroom that contained a massage table in addition
to other furnishings. There were photographs of nude women lining the stairway hall and in the
bedroom. The girl would then find herself alone in the room with Epstein, who would be wearing
only a towel. He would then remove his towel and lie naked on the massage table, and direct the girl
to remove her clothes. Epstein would then perform one or more lewd, lascivious and sexual acts,
including masturbation and touching the girl’s vagina.

12. Consistent with the foregoing plan and scheme, Jane Doe was recruited to give
Epstein a massage for monetary compensation. Jane was brought to Epstein’s mansion in Palm
Beach. Once at the mansion, Jane was introduced to Sarah Kellen, who led her up the flight of stairs
to the room with the massage table. In this room, Epstein told Jane to take off her clothes and give
him a massage. Jane kept her panties and bra on and complied with Epstein’s instructions. Epstein
wore only a towel around his waste. After a short period of time, Epstein removed the towel and
rolled over exposing his penis. Epstein began to masturbate and he sexually assaulted Jane.

13. After Epstein had completed the assault, Jane was then able to get dressed, leave the
room and go back down the stairs. Jane was paid $200 by Epstein. The young girl who recruited

Jane was paid $100 by Epstein for bringing Jane to him.

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14. As a result of this encounter with Epstein, Jane experienced confusion, shame,

humiliation and embarrassment, and has suffered severe psychological and emotional injuries.

COUNT I
Sexual Assault

15. Plaintiff Jane Doe repeats and realleges paragraphs | through 14 above.

16. Epstein tortiously assaulted Jane Doe sexually. Epstein’s acts were intentional,
unlawful, offensive and harmful.

17. Epstein’s plan and scheme in which he committed such acts upon Jane Doe were done
willfully and maliciously.

18. This sexual assault was in violation of Chapter 800 of the Florida Statutes, which
recognizes as a crime the lewd and lascivious acts committed by Epstein upon Jane.

19.  Asadirect and proximate result of Epstein’s assault on Jane, she has suffered and will
continue to suffer severe and permanent traumatic injuries, including mental, psychological and
emotional damages.

WHEREFORE, Plaintiff Jane Doe No. 2 demands judgment against Defendant J effrey
Epstein for compensatory damages, punitive damages, costs, and such other and further relief as this

Court deems just and proper.

COUNT I
Intentional Infliction of Emotional Distress

20. Plaintiff Jane Doe repeats and realleges paragraphs 1 through 14 above.

21. Epstein’s conduct was intentional or reckless.

22. — Epstein's conduct was outrageous, going beyond all bounds of decency.

23.  Epstein’s conduct caused severe emotional distress to Jane Doe. Epstein knew or had
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reason to know that his intentional and outrageous conduct would cause emotional trauma and

damage to Jane Doe.

24. As a direct and proximate result of Epstein’s intentional or reckless conduct, Jane
Doe, has suffered and will continue to suffer severe mental anguish and pain.

WHEREFORE, Plaintiff Jane Doe No. 2 demands judgment against Defendant Jeffrey
Epstein for compensatory damages, costs, punitive damages, and such other and further relief as this
Court deems just and proper.

JURY TRIAL DEMAND

Plaintiffs demand a jury trial in this action.

Dated: February _S&, 2008 Respectfully submitted,

HERMAN & MERMELSTEIN, P.A.
Attorneys for Plaintiffs

18205 Biscayne Blvd.

Suite 2218

Miami, Florida 33160

Tel: 305-931-2200

Fax: (AM,
By: fe
/J effrey M. Herman

jherman@hermanlaw.com
Florida Bar No. 521647
Stuart S. Mermelstein
smermelstein@hermanlaw.com
Florida Bar No. 947245
Adam D. Horowitz
Florida Bar No. 376980
ahorowitz@hermanlaw.com

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The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing, and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
the Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

(a) PLAINTIFFS
JANE DOE NO. 2,

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF
OUT OF STATE
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Herman & Mermelstein, P.A., 18205 Biscayne Blvd., Suite 2218, Miami,
FL 33160, (305) 931-2200

 

DEFENDANTS
JEFFREY EPSTEIN

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT NEW YORK
(IN U.S. PLAINTIFF CASES ONLY)

ATTORNEYS (IF KNOWN)

(d) CIRCLE COUNTY WHERE ACTION AROSE: PALM BEACH g l C8C i/ P01 /4- KA477- Je 5 Nore

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I. BASIS OF JURISDICTION Ill. CITIZENSHIP OF PRINCIPAL PARTIES
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(PLACE AN X ONE BOX ONLY) (For Diversity Case Only) AND ONE FOR DEFENDANT PTF DEF
PTF DEF Incorporated of Principal Place of o4 04
O 1. U.S. Government O 3. Federal Question Citizen of This State o1 01
Business in This State
Plaintiff (U.S. Government Not a Party) Citizen of Another State X2 x2
Incorporated and Principal Placeof Q5 O85
O 2. U.S. Government X 4. Diversity Citizen or Subject of a Foreign County 93 O 3
Business in Another State
Defendant (Indicate Citizenship of Parties in Item
lil) Foreign Nation 06 Q6
IV. CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)
DIVERSITY ACTION UNDER 28 U.S.C. §1332(a) FOR SEXUAL ASSAULT
lVa._5_ days estimated (for both sides) to try entire case
V. NATURE OF SUIT (PLACE AN X IN ONE BOX ONLY)
A CONTRACT A TORTS B FORFEITURE A BANKRUPTCY A OTHER STATUS
PENALTY
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O 180Other Contract 0 385 Property Damage B 893 Envi Matters
O 195 Contract Product Liability Product Liability O 894 Energy Allocation Act
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O 862 Black Lung (923) D 900 Appeal of Fee Determination
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